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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                FORT WORTH DIVISION

ETHAN JOHN NEWCOMER,                             §
    Plaintiff,                                   §
                                                 §
V.                                               §     CIVIL ACTION NO. 4:25-CV-201-P
                                                 §
DONALD JOHN TRUMP, et al.,                       §
    Defendants.                                  §

             ORDER REGARDING PLAINTIFF’S AMENDED COMPLAINT
       The above-styled and numbered case was filed on March 3, 2025 [doc. 1]. On March 4,

2025, the Court struck and unfiled pro se Plaintiff Ethan John Newcomer (“Newcomer”)’s

Complaint [doc. 1], noting the Complaint failed to comply with the Local Civil Rules of the

Northern District of Texas (“Local Rules”) because it did not contain the following: (1) a civil

cover sheet and (2) a separately signed certificate of interested persons [doc. 5]. On March 17, the

Court ordered Newcomer, no later than March 31, 2025, to file a complaint that complied with the

Local Rules [doc. 7]. Subsequently, on March 20, 2025, Newcomer filed an Amended Complaint

with Jury Demand (“Amended Complaint”) [doc. 8]. The Court struck and unfiled Newcomer’s

Amended Complaint, on March 24, 2025, because it failed to contain a civil cover sheet and a

separately signed certificate of interested persons [doc. 9]. On March 31, 2025, Newcomer filed

a civil cover sheet and a certificate of interested persons [docs. 10, 11].

       Based on the foregoing, it is ORDERED that the Court’s Order Striking and Unfiling

Newcomer’s Amended Complaint with Jury Demand [doc. 9] is WITHDRAWN.




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        It is further ORDERED that Newcomer’s Amended Complaint with Jury Demand [doc.

8] is a live pleading.

        SIGNED April 9, 2025.



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                                                             _______
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                                                              CURETON
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                                                      D STATES MAGISTRATE     T JUDGE




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